














Opinion issued March 10, 2005








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-01226-CV
____________

IN RE TIMBEROOF ROOFING CO., INC.




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Timberoof Roofing Co., Inc., has filed a petition for writ of mandamus
complaining of Judge S. Grant Dorfman’s


 August 16, 2004 order invalidating a lien. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus.
PER CURIAM
Panel consists of Justices Taft, Keyes, and Hanks.


